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                        EXHIBIT 62
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                                                                                                                         EXHIBIT62

      abclegal
                           CERTIFICATE ATTESTATION
The undersigned authority has the honor to certify, in confonnity with Article 6 of the
Convention that the documents have been served
   on the date of Jul 29 2023
   at the address of 2256 ABBOTT AVE, ASHLAND, OR 97520

in one of the following methods authorized by Article 5:
    [ ] (a) in accordance with the provisions of sub-paragraph (a) of the first paragraph
              of Article 5 of the Convention.
    [ ]    (b) in accordance with the following method:


    [i]    (c) by delivery to the addressee, who accepted it voluntarily.

The documents referred to in the request have been delivered to:
    HEIDI BROWN, with identity confirmed by subject reaching for docs when named. The in-
    dividual accepted service with direct delivery. The individual appeared to be a blonde-
    haired white female contact 45-55 years of age, 5'6"-5'8" tall and weighing 140-160 lbs.


In conformity with the second paragraph of Article 12 of the Convention, the applicant is requested to
pay or reimburse the expenses detailed in the attached statement.

Annexes
Documents returned:
In appropriate cases, documents establishing the service:
    SEE ATTACHED DOCUMENTS; NO TRANSLATIONS

Documents from:SELARL I.MEYER ET J.DELAMOTTE, Huissiers de Justice
                  3 rue de Rivoli
                  75004 PARIS
                  France
Done at Seattle, Washington on Jul 31 2023.



                                                                                  ~~
                                                                     C.\-.l'"i~'\-,}" /3e.-.;_5,
                                                                   Contracting Agent for the
                                                                   Office of International Judicial Assistance
                                                                   ABC legal Services
                                                                   633 Yesler Way
                                                                   Seattle, WA 98104



ABC Legal Services                                                                                Tracking#: 0l l 1204881
Hague Certification/Attestation                                             11111~ 11111111~ 11m 1111111111111111111 m1111111 !111111
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                                                           FRANCE

MONSIEUR ARNAUD PARIS                                             Case No.:         79 23 07 3881-AD
                                           Plaintiff/Petitioner
VS.
MADAME HEIDI BROWN                                                DECLARATION OF SERVICE OF
                                     DefendantlRespondent         SEE ATTACHED DOCUMENTS; NO TRANSLATIONS


Received by Jesse Brissette, on the 29th day of July, 2023 at 10:40 AM to be served upon HEIDI BROWN at 2256
ABBOTT AVE, ASHLAND, Jackson County, OR 97520.
On the 29th day of July, 2023 at 1:17 PM, I, Jesse Brissette, SERVED HEIDI BROWN at 2256 ABBOTT AVE,
ASHLAND, Jackson County, OR 97520 in the manner indicated below:

INDIVIDUAL SERVICE, by personally delivering 1 copy(ies) of the above-listed documents to HEIDI BROWN.

THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
I delivered the documents to HEIDI BROWN with identity confirmed by subject reaching for docs when named.
The individual accepted service with direct delivery. The individual appeared to be a blonde-haired white female
contact 45-55 years of age, 5'6"-5'8" tall and weighing 140-160 lbs.

Service Fee Total: $95.00

I am a citizen of the United States, over the age of eighteen, not a party to nor interested in the above entitled action, and
have the proper authority in the jurisdiction in which this service was made. Under penalties of perjury, I declare that I
have read the foregoing document and that the facts stated in it are true and accurate.


NAME:                                                                                           07/29/2023
          Jesse Brissette                                   Server ID#                          Date




                                                                                                                  Page 1 of 1
~ REF: REF-13334578


                                             EXHIBIT 62 - PAGE 2 OF 2
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